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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 In re:                              )
                                     )
 WW Contractors, Inc.,               )                  Case No. 18-12095-BFK
                                     )                  Chapter 11
                                     )
                      Debtor.        )
 ____________________________________)

                           NOTICE OF APPEARANCE AND REQUEST
                           FOR NOTICES AND SERVICE OF PAPERS

          Please take notice that Christopher A. Jones, David W. Gaffey, and Jennifer E. Wuebker

 of Whiteford, Taylor & Preston, LLP (“WT&P”), hereby appears in this matter on behalf of WW

 Contractors, Inc. (the “Debtor”) and request, in accordance with Fed. R. Bankr. P. 2002, that the

 undersigned be placed on any mailing matrix or service list that may be used for any purpose in

 this case, and that all notices given or required to be given and all papers served or required to be

 served in this case be given to and served on the undersigned at the following address:

                                  David W. Gaffey
                                  Whiteford, Taylor & Preston, LLP
                                  3190 Fairview Park Drive, Suite 800
                                  Falls Church, Virginia 22042
                                  dgaffey@wtplaw.com


          Please take further notice that the foregoing request includes not only the notices and

 papers referred to in the rules specified above, but also, without limitation, all orders, notices,

 pleadings, complaints, notices of hearing, applications, motions, requests or demands, whether

 formal or informal, written or oral, or transmitted or conveyed by mail, delivery, telephone,
 ________________________________________
 WHITEFORD, TAYLOR & PRESTON, LLP
 Christopher A. Jones, VSB# 40064
 David W. Gaffey, VSB# 85088
 Jennifer E. Wuebker, VSB# 91184
 3190 Fairview Park Drive, Suite 800
 Falls Church, Virginia 22042
 Tel: (703) 280-3374

 Proposed Counsel for WW Contractors, Inc.
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 telegraph, telex, telecopy or otherwise which affect or seek to affect in any way any rights or

 interests of creditors or parties in interest.

         This notice of appearance does not constitute consent to acceptance of service of process

 of any subpoena, summons or other process subject to service pursuant to Bankruptcy Rules

 7004 or 9016.

 Dated: November 2, 2018                          WHITEFORD TAYLOR & PRESTON, LLP

                                                  /s/ David W. Gaffey
                                                  Christopher A. Jones, VSB# 40064
                                                  David W. Gaffey, VSB# 85088
                                                  Jennifer E. Wuebker, VSB# 91184
                                                  3190 Fairview Park Drive, Suite 800
                                                  Falls Church, Virginia 22042
                                                  Telephone: (703) 280-3374
                                                  Email: dgaffey@wtplaw.com

                                                  Proposed Counsel for WW Contractors, Inc.




                                    CERTIFICATE OF SERVICE

        I hereby certify that on this November 2, 2018, a copy of the foregoing Notice of
 Appearance and Request for Notices and Service of Papers was filed and served via the Court’s
 Electronic Case Filing System on all parties receiving such notification.


                                                  /s/ David W. Gaffey
                                                  Counsel




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